         Case 1:19-cv-02367-ABJ         Document 142      Filed 06/28/24     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
    PETER P. STRZOK,                               )
                                                   )
                  Plaintiff,                       )
                                                   )       Civil Action No. 19-2367 (ABJ)
           v.                                      )
                                                   )
    ATTORNEY GENERAL MERRICK B.                    )
    GARLAND, in his official capacity, et al.,     )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )
                                                   )
    LISA PAGE,                                     )
                                                   )
                  Plaintiff,                       )
                                                   )       Civil Action No. 19-3675 (TSC)
           v.                                      )
                                                   )
    U.S. DEPARTMENT OF JUSTICE, et al.,            )
                                                   )
                  Defendants.                      )
                                                   )

            JOINT STATUS REPORT AND JOINT MOTION TO EXTEND STAY

          On May 28, 2024, the parties informed the Court that they had reached a tentative

agreement to resolve all of both Plaintiffs’ claims under the Privacy Act, 5 U.S.C. § 552a. 1

Pursuant to the Court’s May 28, 2024 Minute Order, this case has been stayed while the parties

negotiate final written settlement agreements regarding the Privacy Act claims.




1
 The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
       Case 1:19-cv-02367-ABJ            Document 142          Filed 06/28/24       Page 2 of 3




        The parties report that they have been negotiating in good faith their final written settlement

agreements regarding the Privacy Act claims, but need additional time to conclude that process.

The parties therefore respectfully request that the Court extend the stay through July 19, 2024.

        In the Court’s May 28, 2024 Minute Order, the Court ordered Defendants and Mr. Strzok

to file a joint status report regarding further proceedings in Mr. Strzok’s case. In light of the parties’

request for an extension of the stay, Defendants and Mr. Strzok respectfully request that this

deadline be extended through July 19, 2024.

Dated: June 28, 2024                            Respectfully submitted,

                                                 BRIAN D. NETTER
                                                 Deputy Assistant Attorney General

                                                 MARCIA BERMAN
                                                 Assistant Branch Director

                                                 CHRISTOPHER R. HALL
                                                 Assistant Branch Director

                                                 /s/ Joshua C. Abbuhl        _
                                                 MICHAEL J. GAFFNEY
                                                 (D.C. Bar 1048531)
                                                 BRADLEY P. HUMPHREYS
                                                 (D.C. Bar 988057)
                                                 JOSHUA C. ABBUHL
                                                 (D.C. Bar 1044782)
                                                 CHRISTOPHER M. LYNCH
                                                 (D.C. Bar 1049152)
                                                 Trial Attorneys, U.S. Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 1100 L Street, N.W.
                                                 Washington, D.C. 20005
                                                 Tel.: (202) 616-8366
                                                 Email: joshua.abbuhl@usdoj.gov

                                                 Counsel for Defendants




                                                    2
Case 1:19-cv-02367-ABJ   Document 142     Filed 06/28/24       Page 3 of 3




                             /s/ Amy Jeffress
                             Amy Jeffress (D.C. Bar 449258)
                             Robert J. Katerberg (D.C. Bar 466325)
                             Kaitlin Konkel (D.C. Bar 1021109)
                             ARNOLD & PORTER
                             KAYE SCHOLER LLP
                             601 Massachusetts Avenue NW
                             Washington, DC 20001-3743
                             Telephone: (202) 942-5000
                             Fax: (202) 942-5999
                             Amy.Jeffress@arnoldporter.com
                             Robert.Katerberg@arnoldporter.com
                             Kaitlin.Konkel@arnoldporter.com

                             Counsel for Plaintiff Lisa Page

                             /s/ Christopher R. MacColl
                             Aitan D. Goelman (D.C. Bar 446636)
                             Christopher R. MacColl (D.C. Bar 1049153)
                             ZUCKERMAN SPAEDER LLP
                             1800 M Street NW, Suite 1000
                             Washington, DC 20036
                             Telephone: (202) 778-1800
                             AGoelman@zuckerman.com
                             CMacColl@zuckerman.com

                             Richard A. Salzman (D.C. Bar No. 422497)
                             HELLER, HURON, CHERTKOF &
                             SALZMAN PLLC
                             1010 Wayne Ave., Suite 510
                             Silver Spring, MD 20910
                             Telephone: (202) 293-8090
                             salzman@hellerhuron.com

                             Counsel for Plaintiff Peter Strzok




                                3
